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                                             United States District Court
                                                   Western District
                                          Exhibits Log: 21-CR-77-SWS-1
                                        USA v. Salvador Salas, Jr, 1/23/2023



1EXHIBIT    DESCRIPTION                                                                       RLS   IDENTIFIED ADMITTED 1
                                                                                     ••'•-.
 Court-1    Final Jury Instructions                                                           Yes   1/25/2023     1/25/2023
                                                                                                    .4:44 PM -,   4:44 PM

 Court-2    Verdict Form                                                                      Yes   1/25/2023     1/25/2023
                                                                                                    4:45 PM       4:45 PM

 Gov-100    Picture 1 from Chelseas FB Messenger of SV                                        Yes   1/23/2023     1/23/2023
                                                                                                    4:22 PM       4:22 PM

 Gov-101    Picture 2 from Chelseas FB Messenger of SV                                        Yes   1/23/2023     1/23/2023
                                                                                                    4:22 PM       4:22 PM

 Gov-102    Picture 3 from Chelseas FB Messenger of SV                                        Yes   1/23/2023     1/23/2023
                                                                                                    4:22 PM       4:22 PM

 Gov-103    Picture 4 from Chelseas FB Messenger of SV                                        Yes   1/23/2023     1/23/2023
                                                                                                    4:22 PM       4:22 PM

 Gov-104    Video 1 taken at ER                                                               Yes   1/23/2023     1/23/2023
                                                                                                    5:03 PM       5:03 PM

 Gov-105    Video 2 taken at ER                                                               Yes   1/23/2023     1/23/2023
                                                                                                    5:03 PM       5:03 PM

 Gov-106    Video 3 taken at ER                                                               Yes   1/23/2023     1/23/2023
                                                                                                    5:03 PM       5:03 PM

 Gov-107    Photo 1 of mouth burns                                                            Yes   1/23/2023     1/23/2023
                                                                                                    5:33 PM       5:33 PM

 Gov-108    Photo 2 of mouth burns                                                            Yes   1/23/2023     1/23/2023
                                                                                                    5:33 PM       5:33 PM

 Gov-109    Photo 3 of mouth burns                                                            Yes   1/23/2023     1/23/2023
                                                                                                    5:33 PM       5:33 PM

 Gov-110    Photo 4 of mouth burns                                                            Yes   1/23/2023     1/23/2023
                                                                                                    5:33 PM       5:33 PM

 Gov-111    Photo of SV clothing_black Kensie Underwear Front                                 Yes   1/23/2023     1/23/2023
                                                                                                    3:38 PM       3:38 PM

 Gov-112    Photo of SV clothing_black Kensie Underwear Back                                  Yes   1/23/2023     1/23/2023
                                                                                                    3:38 PM       3:38 PM

 Gov-113    Photo of SV clothing_black Kensie Underwear Inside                                Yes   1/23/2023     1/23/2023
                                                                                                    3:38 PM       3:38 PM

 Gov-114    Photo of SV clothing_black Lace Underwear Front                                   Yes   1/23/2023     1/23/2023
                                                                                                    3:38 PM       3:38 PM

 Gov-115    Photo of SV clothing_black Lace Underwear Back                                    Yes   1/23/2023     1/23/2023
                                                                                                    3:38 PM       3:38 PM

 Gov-116    Photo of SV clothing_black Lace Underwear Inside                                  Yes   1/23/2023     1/23/2023
                                                                                                    3:38 PM       3:38 PM

 Gov-117    Photo of SV clothing_red Underwear Front                                          Yes   1/23/2023     1/23/2023
                                                                                                    3:38 PM       3:38 PM

 Gov-118    Photo of SV clothing_red Underwear Back                                           Yes   1/23/2023     1/23/2023
                                                                                                    3:38 PM       3:38 PM

 Gov-119    Photo of SV clothing_red Underwear Inside                                         Yes   1/23/2023     1/23/2023
                                                                                                    3:38 PM       3:38 PM

 Gov-120    Full Set FB Messenger Messages                                                    Yes   1/23/2023     1/23/2023
                                                                                                    4:21 PM       4:21 PM

 Gov-123    Video taken at ER                                                                 Yes   1/23/2023     1/23/2023
                                                                                                    5:03 PM       5:03 PM

 Gov-124    Video taken at ER                                                                 Yes   1/23/2023     1/23/2023
                                                                                                    5:03 PM       5:03 PM


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